J. M. MOORE AND HATTIE MOORE, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Moore v. CommissionerDocket No. 28853.United States Board of Tax Appeals15 B.T.A. 1037; 1929 BTA LEXIS 2745; March 22, 1929, Promulgated *2745  HUSBAND AND WIFE. - Petitioners originally made a joint return for the calendar year 1925; thereafter, petitioners made separate individual returns for the year 1925, and tendered same to the respondent.  Held, petitioners, having originally made a joint return for the calendar year 1925, may not thereafter, by filing amended separate returns, have the tax liability determined upon the basis of such separate returns.  J. M. Moore for the petitioners.  Brice Toole, Esq., for the respondent.  MILLIKEN *1037  This proceeding results from the determination by respondent of a deficiency in tax for the calendar year 1925 in the amount of $379.03.  Petitioners filed a joint income-tax return for the year 1925.  Error is assigned in that the respondent refused to accept separate and amended income-tax returns for the year 1925.  FINDINGS OF FACT.  Petitioners are residents of Rising Star, Tex.  Shortly prior to March 15, 1926, petitioners were advised that it would be necessary to file an income-tax return for the calendar year 1925.  Neither of them prior thereto had filed an income-tax return and they were unfamiliar with the provisions of Federal*2746  income-tax regulations, nor did they know that separate or joint returns covering their income for the year 1925 could be filed.  When petitioners were advised *1038  that a return for the year 1925 was necessary, they took the matter up with I. J. Rice, an attorney at law of Brownwood, Tex., who was their legal advisor.  He advised them that he was unfamiliar with income-tax matters, but did communicate with other individuals in Brownwood whom he felt would be qualified to make such a return, but was unable to secure the service of any of the parties he interviewed and, thereupon, owing to the fact that only two days remained in which to make and file the required return for the year 1925, their legal adviser attempted to make a proper return for the petitioners, notifying the Bureau of Internal Revenue of the circumstances and his inexperience in such matters.  At the time said return was prepared and executed by petitioners an income-tax liability was shown and paid in the amount of $93.96.  Afterwards, to wit, on July 3, 1926, by letter of that date, the petitioners were advised that an error in their return had been made and an additional assessment was proposed of $33.98, *2747  which was duly paid by them.  Thereafter, on October 22, 1926, the petitioner was furnished with a statement from the Treasury Department at Dallas, Tex., showing an additional deficiency of $391.83.  OPINION.  MILLIKEN: Our findings of fact result from the admission by respondent of the allegations of fact set forth in the petition filed in this cause.  Petitioners filed a joint Federal income-tax return for the calendar year 1925, and seek by this proceeding to have us hold that the respondent was in error in refusing to accept amended income-tax returns which were subsequently tendered to the respondent.  We have decided the identical question adversely to the petitioners' contentions in , and . See also , and . Judgment will be entered for the respondent.